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                                        March 21, 2019                  BAREE N. FETT

                                                                        KRISTEN PERRY – CONIGLIARO
BY ECF                                                                  AIKA DANAYEVA
                                                                        ARIANA ELEFTERAKIS
Honorable Gary R. Brown                                                 MICHAEL INDELICATO
                                                                        STEPHEN KAHN
United States Magistrate Judge                                          EVAN M. LA PENNA
                                                                        DOMINICK MINGIONE
Eastern District of New York                                            JOSEPH PERRY
                                                                        MARIE LOUISE PRIOLO *
100 Federal Plaza                                                       KEYONTE SUTHERLAND
Central Islip, New York 11722                                           *Also Admitted In New Jersey

      Re:     Jackson v. Nassau County, et al., 18 CV 3007 (JS) (GRB)

Your Honor:

       I represent plaintiff in the above-referenced wrongful conviction matter. I write
on behalf of the parties pursuant to Fed. R. Civ. P. 26(f) to respectfully propose the
following jointly-developed discovery plan for the Court’s review and endorsement:

Phase I: Pre-Settlement Discovery
       Service of Rule 26(a) Initial Disclosures and HIPAA-
       Compliant Releases by                                         4/16/19
       Completion of Phase I Discovery                               4/30/19

Phase II: Discovery and Motion Practice
       First Requests for Production of Documents and
       Interrogatories to be served by                              5/3/19
                    Responses to these Requests                     6/3/19
       All Fact Discovery Completed by                              11/15/19
                    Plaintiff’s Deposition by                       7/9/19
                    Defendants’ Depositions by                      9/2/19
                    Third-party Depositions by                      10/2/19
                    Deadline for Discovery Requests                 10/9/19
       Exchange of Expert Reports                                   11/15/19
       Expert Depositions to be Completed by                        12/30/19
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Hon. Gary R. Brown
Mar. 21, 2019

      Accordingly, if it should please the Court, the parties respectfully request that
the Court adopt their proposed schedule.

      Thank you for your consideration of this request.

                                         Respectfully submitted,


                                         Gabriel P. Harvis
cc:   All Counsel




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